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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                             *      MDL No. 2179
“DEEPWATER HORIZON” in the                                  *
GULF OF MEXICO, on                                          *      SECTION J
APRIL 20, 2010                                              *
                                                            *      JUDGE BARBIER
THIS DOCUMENT RELATED TO:                                   *      MAG. JUDGE SHUSAN
                                                            *
IN RE: TRITON ASSET LEASING GmbH                            *
Case No. 2:10-cv-02771-CJB-SS                               *

******************************************************************************
                                   ORDER


       Consider the Motion for Acceptance of Limitation Short Form Joinders Filed After the

September 16, 2011 Deadline:

       It is ORDERED that the late-filed Short Form Joinders filed by Movants, identified as the

414 claimants in “Exhibit A,” shall be considered as timely filed claims in the Transocean

Limitation (Civil Action No. 10-2771), as well as properly joined in the B1 and/or B3 Bundle

Amended Master Complaints, in accordance with Pre-Trial Orders Nos. 24 and 25.



Signed this ________ day of _____________________, 2012




                                                    ____________________________________
                                                    Honorable Carl J. Barbier,
                                                    U.S. District Court Judge
